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{'fO Se IS (Rev 12/16) Complaim for Violalioi   ivil Ki(;hts(Non-I'risonci)



                                      UNITED STATES DISTRICT COURT
                                                                        for the

                                                   Western District of New York State


                                                                 Foiutli Di\ision


                                                                                  Case No.

                                                                                                    (to befilled ii by the Clerk's Office)
                         Carrie M
                             Plniiiriffd)

                                                                                  JurV I rial; (check one)             Yes CD No
                                -\-

  Ncw York State IX'partment of r-nvironmental
 Conservation & the United Stated Department of
 Agriculture and the following INDIVIDUALS, in
  their individual and official capacitics:BASIL                                                      ^pCTES DIS
                                                                                                             FILED
  SEGGOS - Commissioner, SONNY PERDUE -
         Secretary, WILLIAM POWELL -
                                                                                                       DEC -4 Z020
     Lieuteanant/Captain,DEC Division of Law
Enforcement, JOSEPH TIllvRRIEN - Director, DEC
 Special Licenses Unit, ANDRliA D'AMBROSIO -
USDA Animal Care Inspector and *John/Jane Does
                              //I-I5.

                           lh-fon(lant(s)



                               COMPLAINT FOR \TOLATION OF CRTL RIGHTS

                                                      (Non-Prisoner Complaint)




                                                                      NOTICE


  Federal Rules ofCivil Procedure 5.2 addresses tlie pnvacy and secuntv" concerns resultmg from public access to
  electromc court files. Under tliis rule, papers filed widi the court should tiol contam; an mdividual's frill social
  security- number or frill birtli date; tlie frill name ofa person known to be a mmor; or a complete financial account
  number. A filing may mchide only: tlie Last four digits of a socual securitv- nimiber; tlie year ofan individuars
  birtli; a minor's initials; and tlie last four digits of a fuiaucial account number.

  Except as noted in this form, plaintiffneed not send exlubits. affidavits, grievance or witness statements, or any
  other materials to the Clerk's Office witli this complaint

  In order for your complaint to be filed, it must be accompanied by tlie fihng fee or an application to proceed in
  forma pauperis.




                                ' may be individvals who work for the government or those who do not.
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      The Parties to This Complamt

      A.        The Plaintiff(s)


                Provide the infonnation below for each plaintiffnamed in the complamt. Attach additional pages if
                needed.

                     Name                                       Carrie M Leo
                      Address                                  3199 Walworth Road

                                                               Wahrorih                     NY                    1456S
                                                                            CJtv           State                Zh' Code
                     County                                    Wa^me
                     Telephone Number                          (315)538-8316
                      E-Mail Address                           carrieleo 15@gmail.com

      B.        The Defendaut(s)

                Provide the infonnation below for each defendant named in tlie complaint, whetlier tlie defendant is an
                indi\idual, a government agency, an organization, or a corporation. For an individual defendant,
                include the person's job or title (ifknown) and check whether you are bringing this complaint against
                them in their individual capacit>^ or official capacit>\ or both. Attach additional pages ifneeded.

                Defendant No. 1

                     Name                                      New York State Department ofEnvironmental Conservation
                     Job or Title (ifhiomn
                     Address                                   625 Broadway
                                                               Albany                      NY                     12233
                                                                            Ct/            State                Zio Code
                     County                                    Albany
                     Telephone Number                          (518) 402-8401
                      E-Mail Address iifkumn)




                Defendant No. 2

                     Name                                     Basil Seggos
                     Job or Title (ifhioivn)                  Commissioner

                     Address                                  625 Broadway
                                                              Albany                      NY                    12233
                                                                           City           Store                Zio Code

                     Count>'                                  Albany
                     Telephone Number                         (518) 402-8401
                      E-Mail Address (ifkiio^m)               unknown


                                                             S Individual capacitv'       Official capacitv'




                                                                     Page 2 of 13
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froSe l5(Rev, t2/t6)Comptaim for Violaii     TCivil Rights(Non-ftisoner)

               Defendant No. 3

                    Name                                       United States Department of Aericullure
                    Job or Title afknown)
                    Address                                    1400 Independence Avenue. S.W.
                                                               Washinston                        DC                      20250
                                                                               Cm'               State                   Zip Code

                    County                                     District of Columbia
                    Telephone Number                           202-720-2791
                     E-Mail Address (ifknown)

                                                                    bidividiul c.ipacitv'        Official capacit)'
               Defendant No. 4

                    Name                                       Sonny Perdue
                    Job or Title ofknown)                      Secretary
                     Address                                   1400 Independence Avenue., S.W.
                                                               Washington                        DC                      20250
                                                                               C/O               fitate                  2ip Code

                    County                                     District of Columbia
                    Telephone Number                           202-720-2791
                     E-Mail Address (ifknown)

                                                               ^ individual capacity            Officialcapacity
             Defendant No. 5
                    Name                                      Joelherrien
                    Job or Title afknown)                     Director, Special Licenses Unit
                    Address                                   625 Broad\way,5*''Floor
                                                                           Albany,          NY                 12233-7011
                                                                             Cm             State                  Zio Code

                    County                                    Albany
                    Telephone Number                          518-402-8985
                    E-Mail Address afknown)                   joseph.therrien@dec.ny.gov

                                                              El Individual C3p3cit>'       ^       Official capacitv"

              Defendant No. 6
                   Name                                       William Powell
                   Job or Title (if known)                    Lieutenant/Captain, Division of Law Enfor^meniU
                   Address                                    6274 East Avon-Lima Rd.

                                                                           Avon,            NY                  14414-9519
                                                                             Cin-           Stale                  Zip Code

                   County                                     Livingston
                   Telephone Number                           585-226-6706
                   E-Mail Address (ifknown)                   william.powell@dec.ny.gov

                                                                    Individual capacitv-     ^ Official capacity-


                                                                     Page 3 of 13
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                     Defendant No. 7

                           Name                                      Andrea D'Ambroslo
                           Job or Title afknown)                    Animal Care Inspector
                           Address                                  1400 Independence Avenue, S.W.
                                                                          Washington,           D.C.                   20250
                                                                                   Citv         State             Zip Code

                           County                                    District of Columbia
                           Telephone Number                          202-720-2791
                           E-Mail Address (ifknown)

                                                                          Indnidual cap3cit>'   ^ Official capacity-

II.         Basis for Jurisdiction


            Under 42 U.S.C. § 1983. you may sue state or local ofUcials for the "deprivation of any rights, privileges, or
            immunities secur^ by the Constitution and {federal laws]." Under Bivens v. Six Unknown Named Agents of
            Federal Bureau ofNarcotics. 403 U.S. 388 (1971), you may sue federal officials for the violation of certain
            constitutional rights.

            A.        Are you bringing suit against (check all that applyj:
                       S     Federalofficials (a Bivens claim)

                       0     State or local officials (a § 1983 claim)

            B.        Section 1983 allowsclaims alleging the "deprivation of any rights, privileges, or immunities securedby
                      the Constitution and [federal laws]." 42 U.S.C. § 1983. If you are suing under section 1983, what
                      federal constitutional or statutory right(s) do you claim is/arc being violated by state or localofficials?
                           Equal treatment under the law, freedom of speech, freedom of petition, freedom from
                           unreasonable searches and seizures, right to due process of law, rights of accused person,
                           freedom from cruel and unusual punishment, freedom to enjoy one's own property, freedom
                           to not have property taken by the government without just compensation and freedom of
                           establishing ones own business.

             C.        Plaintiffs suing under BNens may only recover for the violation ofcertain constitutional rights. Ifyou
                       are suing under         what constitutional ri^t(s) do you claim is/are being violated by federal
                       officials?

                            Due process, property rights, equal treatment under the law, chance for recourse/redress and
                            false accusations/defamation.


             D.        Section 1983 allows defendants to be found liable only when tliey have acted "under color ofany
                       statute, ordinance, regulatioa aistom, or usage, ofany State or Territory or die District ofColumbia."
                       42 U.S.C. § 1983. Ifyou are suing under section 1983. explain how each defendant acted under color
                       ofstate or local law. Ifyou are suing under Bh'ens, eiqilain bow eacli defendant acted under color of
                       federal law. Attach additional pages ifneeded.

                            On or around November 7,2015, the Division of Law Enforcement of the DEC visited my
                            wildlife center due to a neighbor contacting the agency about my having wild animals. I was
                            duly licensed by the DEC and USDA to possess and exhibit wild and exotic animals. Although



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                          the officers saw nothing of concern after touring the center, they returned on May 10, 2016
                          demanding another tour ofthe facility for an "inspection" and seizing a pack of six adult coyotes
                          I possessed with the authority of my wildlife rehabilitation license through the DEC.

                          Two to three days afterward, the town zoning officer cited my stepfather, the landowner, for two
                          alleged violations. On or around July 26, 2016, the DEC cited me with eleven citations mostly
                          for possession of coyotes. The charges were resolved with a plea to two civil violations of my
                          keeping opossums in hospital cages in the bam during the winter and for submitting an annual
                          log for one of my licenses late; two alleged violations which are committed by other licenses
                          frequently without citation or discipline.

                          In 2017, I became aware of Lt. Powell and Officer Thomas from the DEC acting against my
                          business by making me take the entire center down even though it was constructed legally, and
                          the town know of it. In fact, one ofthe zoning officers visited the center in or around December
                          2015 to look around and was given a tour of the entire facility. The zoning officer saw nothing
                          of concern.

                          The DEC was not going to settle without my full surrendering of all licensure and the relocation
                          of all animals, which was an extreme measure for a business which was duly licensed and
                          operating within the confines ofthe law. The center even offered a community service ofwildlife
                          rehabilitation which was done on a volunteer basis and financed from personal funds and a few
                          donations.

                          In April 2017,1 boarded three animals with a colleague and friend I trusted at the time while I
                          recovered from surgery. I boarded the animals in order to maintain the standard of care for the
                          animals by temporarily keeping them with someone who could take care of them full-time until
                          I recovered. However, without my permission and knowledge, the colleague took the animals
                          out of New York State, with the help of specific staff members of the DEC and USDA and
                          imported them illegally into Texas State.

                          Since then, I have been vying in court to gain repossession of the animals only to have
                          interference from the DEC and USDA in convincing my colleague that I didn't have the proper
                          licensing to keep the animals. Even though an attomey from the DEC's Office of General
                          Counsel confirmed for me in writing that my licensing was, in fact, valid to have not only the
                          animals back from my colleague but that I could have additional animals listed on the license
                          if I were to obtain more animals, which I didn't plan on.

                          I was granted a preliminary injunction on September 10, 2018 (and amended on May 2, 2019)
                          for the return of my animals. However, the Defendant started to allege, one by one, the animals
                          were either stolen or deceased. However, evidence which I've gathered since then shows
                          otherwise. The Defendant's attomey opted to use a number of highly unethical methods in
                          prejudicing my repossession of the animals and teamed up with the DEC (and possibly the
                          USDA).

                          The DEC has been giving the Defendant information and other documents which I have reason
                         are prejudicing me against the assertion of my rights. Although I've asked for copies of the
                         documents since they clearly had to do with me and my licensing of my animals and business,
                         they have never given me copies.

                          I have also become aware of Lt. Powell, Joe Therrien, James Farquhar, Andrea D'Ambrosio and
                          Tonya Hadijis (the former two from the DEC and the latter two from the USDA) acting against
                          my interests and rights secretly by protectingthe person who still has possession of my animals.
                          I have sought assistance from everyone I can think of, including all the way up the "ladder" of
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        authority, so to speak, to the Commissioner of the DEC and the Secretary of the USDA only to be met with
        hostility or indifference.

        In order to discredit me, both agencies have used the law to accuse me of violating laws which either don't
        exist, or which are improperly implied. In the meantime, DEC officials, namely Powell and Therrien, have
        incited my neighbors to act against me, including the    vandalism of my center twice and unlawful
        release of my animals when I wasn't around the premises. Local (town, county) authorities and officials
        have been turned against me based on severely derogatory and personal statements made about me by Lt.
        Powell and Officer Kevin Thomas - the DEC Division of Law Enforcement officers who work in my region,
        referred to by the DEC as "Region 8."

        My state licenses were either denied renewal in a very untimely fashion or revoked while the      Department
        violated a multitude of regulations and rules during the process it took in doing so. Presently, the USDA is
        now invoking a proceeding to terminate my federal license simply because the state license was revoked.
        During any consideration the Department may have given concerning my licensing, I have had literally
        absolutely no say whatsoever, even and especially, in the hearing which was held to revoke one of my state
        licenses on March 13,2018 (the license was revoked by final determination by the Commissioner on or around
        November 7, 2018).

        Most recently, I have become aware that I am being defamed by the same staff members mentioned in this
        summary as I've been accused (not directly, ofcourse) for animal cruelty, such as starving animals, etc. Powell
        has solicited false testimony in manipulating potential witnesses to say things about me which aren't true and
        for which there is no evidence or evidence which squarely contradicts statements he has coached other people
        to say against me.

        There is no recourse or redress unless a person has considerable financial support or have connections in the
        government to "pull strings" much like what the DEC and USDA have done for the colleague of mine who
        stole my animals.

       New York State Department of Environmental Conservation staff members Joe Therrien, Paul Stringer,
        William Powell and James Farquhar' misrepresented the licensing I had through the Department's Special
        Licenses Unit telling a person who was boarding animals for me that I didn't have the authority to possess
        such animals. However, the two licenses I had through the Department, the Licensefor Wildlife Rehabilitation
        (LWR) and License to Collect & Possess (LCP) were valid for the year 2017 and most of 2018, respectively.

       While talking to other individuals about my licensing, the Department repeatedly refused to give me status on
       my licenses never returning calls, emails, or letters. Even though my License to Collect & Possess continued
       to undergo rolling renewals annually in July 2017 and July 2018,1 was never given an updated paper license,
       even though I had requested one. It is standard practice to give every licensee a paper version oftheir licenses
       However, when the colleague who boarded my animals contacted the SLU, he was not ignored at all and in
       fact a conspiracy developed between him and the Department in preventing the return of my animals even
       though this was part of the contract to which we both agreed before the boarding arrangement took place on
       or around April 23,2017. Eventually the renewal applications for both licenses I sent to the Department were
       denied months after the 45-day deadline for the Department to respond or else there would be an automatic
       approval of the application. Technically, the applications were renewed automatically, and the LWR's new
       expiration date is 12/31/2022 and then LCP undergoes annual rolling renewals.




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                        I also have reason to believe the Department has helped this colleague fabricate an entire fable
                        about me by justifying and telling members of the public and other authority figures that may
                        enter the scene occasionally that 1 had the animals taken away from me due to neglect and/or
                        cruelty and I wasn't licensed for them; both of which are not true. If this was the truth, then the
                        individual who boarded my animals would also be in violation ofthe law then, as it is prohibited
                        by virtue of all of his state and federal licensing conditions to acquire animals from an illegal
                        source. However, since then he has exported the animals from New York State, traversed a
                        number of states in traveling to Texas, imported the animals, including his own menagerie (which
                        includes endangered species), unlawfully. He continues to possess all of the animals illegally to
                        this day only canying federal licensing to exhibit without respecting Texas state law and
                        licensing indigenous species, furbearers, and endangered species. The three animals he took
                        from me where all furbearers (fox, fisher and badger) and two were from species considered
                        indigenous to the state of Texas.

                        It is clear he is passing around documents given to him by the DEC which have been referred to
                        as a "phone summary" by Therrien in an email on or around November 8, 2017 which he states
                        was written and given to my colleague. Another reference to yet another document was made
                        by my colleague was on December 6, 2019 when he stated he had "orders" to "transport and
                        dispose" of my animals. The Department has given me no notice whatsoever that any possession
                        of my animals up to the time my colleague boarded them was unlawful and they knew what live
                        inventory 1 had at the time as well.

                        Furthermore, I was never given any notice of "orders". In fact, I've requested copies of the
                        documents numerous times from both my colleague and the Department to no avail. There is this
                        "secret conspiracy" or collaboration between my colleague and the DEC as         well as at least
                        one staff member in the USDA working to keep my animals from returning to me. For mere
                        possession, the animals do not need to be licensed - only if they are exhibited.

                        I have also been confronted by individuals who have spoken to Powell and possibly other officers
                        who have made derogatory and untrue remarks concerning me, my business and character. These
                        statements occurred during pending cases in which the Department cited me excessively and
                        unfairly for the possession of wild animals which were authorized by the licensing I had at the
                        time for wildlife rehabilitation. In addition to the fact that the Department tried entrapping me
                        by refusing to process my amendment requests and renewal applications for the rehab and long-
                        term possession license (LCF), according to their own regulation, the requests and renewals were
                        already approved automatically at the 45-day deadline for the Department to send notice to the
                        licensee of its decision to approve or decline amendment requests and licensing renewals.

                        The United States Department of Agriculture Animal Care Inspector, Andrea D'Ambrosio,
                        encouraged my colleague to take as many animals as possible from my center with the intent not
                        to return them. She also suggested a lien or agister's lien for the return of my animals. This
                        denies due process rights as well as aid the commission of fraud and possibly other torts, covering
                        up and allowing numerous violations of law by my colleague which led to his violation ofat least
                        three federal laws, in addition to a multitude of New York and Texas State Conservation Laws.

                        Furthermore, the animal care complaints I filed with the USDA were "investigated" by
                        D'Ambrosio who did not put forth good-faith effort in determining what happened to my animals.
                        In fact, I have reason to believe she told others, such as SBA Ombudsman, Steve Bennett, that I
                        "forfeited" the animals, which, again, is untrue. Another inspector who responded to one of the




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                        animal care complaints and did an inspection ofthe facility at which my colleague kept my animals
                        in Texas failed to verify any state licensing, including export and import documentation. If she
                        had, she would have seen that his activity with the animals was unlawful. However, it is likely
                        the inspector was "under the thumb" of D'Ambrosio who was protecting my colleague as she too
                        was collaborating with the New York State Department ofEnvironmental Conservation in keeping
                        my animals from me. This, from my understanding, is still occurring to this day.

                        While the above mentioned staff members and my colleague are violating a host of laws and have
                        been in this case for years, I had my LWR untimely denied, my LCP revoked through a process
                        during which the Department violated many of its own rules governing proceedings for licensing
                        revocations and am currently fighting to keep my USDA Exhibitor's License. Yet the staff
                        members have suffered no ill effects from violating my civil rights and breaking the very laws
                        they are charged to uphold and enforce. Nor is my colleague required to follow the law and has
                        broken far more than 1 had been accused of violating since this case began yet he still has yet to
                        experience even one citation. He currently continues to possess my and his animals in the State
                        of Texas unlawfully.

                        All efforts of mine at recourse or redress have been unsuccessful. In fact, my latest attempt with
                        the USDA spears to have spurred their current attempt to terminate my federal exhibitor's license.
                        The effect of the termination will be the inability of me to have, possess or transport any animals
                        indefinitely, which is what the ultimate goal of DEC's and USDA's involved staff members are
                        although they will not admit it publicly. These people are putting forth extreme effort in an even
                        more extreme end result - especially for someone who does not deserve it.


in.    Statemeut of CLiim


       State as briefly as possiblethe fiicts ofyour case. Describe how each defendant was personally involved in the
       allegedwrongful action, alongwidi the dates and locations ofall rele\*ant events. You may wish to include
       further details such as the names ofother persons involved in theevents giving rise to yourclaims. Donot dte
       any cases orstatutes. Ifmore than one claim is asserted, number each H.^im and write a short and plain
       statementofeach claim in a separate paragraph. Attach additional pages ifneeded.


       A           Where did the events giving rise to your claim(s) occur?
                   Much ofthe allegations coming from the authorities occurred at my center in Walwoith, NY. They
                   are specified in the longernarratives contained herein. Other circumstances ocairred during die case,
                   Leo v Thomas Index No. 2017-1668 pending m the New York State Supreme Court ofJefferson
                   Coumty and is currently on appeal

       B.         What date and approximate time did the events giving rise to your claim(s) occur?
                   This matterhas been going on from the first Satiuday ofNovember 2015 to the present day. However,
                   I did not become aware ofthe damage and intentions ofthe DEC and USDA until later. There are
                   various dates such as dates when certain inflammatory statements were made, dates when
                   misrepresentations oflawwere being made both in and out ofCourt especially when the preliminary
                   injundction was granted for the return ofmy animals., etc.
                   Included as an attachment is a timeline incorporating the various dates as they correspond to the
                   actions of the DEC, USDAand other parties and non-parties involved in this civil rights case.

      C.         What arethe fccts underlying yourclaim(s)? (Forexample: What happened toyou? Wlx) did what?
                 Was anyone else irnvhed? Wlx> eke satv what happened?)


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                                Background

                                In November 2015, Captain (then Lieutenant) Powell and 1 had a minor argument on
                                the phone during which he threatened to terminate the licensing 1 had through the
                                DEC. Not long afterward, 1 have reason to believe he riled up my neighbors and
                                colleagues making derogatory remarks about me and my facility and sending around
                                gossip and rumors about the same things. He also breached confidentiality. He never
                                gave the Plaintiff a chance to abide by his expectations, even though they seemed to
                                be different than those used for other licensees similarly situated. His approach was
                                "one strike and you're out". Powell then imposed punishment on my family and 1 by
                                manipulating town authorities to threaten my parents with tens of thousands of dollars
                                of fines for things which weren't even wrong with their property. He had another officer
                                tell me 1 had to get rid of all of my animals and take down all ofthe fencing, etc. down
                                even though everything was licensed and legal. This is my business and a way to earn
                                a living. He then collaborated with the person who stole my animals in July 2017 by
                                passing around rumors that 1 was an animal abuser and starve animals, etc. None of
                                this was true. Not to mention, I've never been cited for such things to this day. He has
                                created an entire fable around my business and 1 instead of dealing with reality. He
                                manipulated and had undue influence over potential witnesses having them lie for him
                                to back up his lies. One witness stated he was upset when the officers, presumably at
                                the command of Powell, tried getting him to say he was black marketing animals with
                                me which wasn't true at all.


                                My licensing was misrepresented causing prejudice against me in the repossession of
                                my animals. There are many more items but those will be included in the Amended
                                Complaint.

                                James Farquhar and Joe Therrien have been interfering covertly with a case of mine
                                and causing prejudice and conferring with the lawyer for the opposing side concerning
                                my licensing which is being misrepresented. There are also at least two documents
                                written for the defendant about me, the case and my licensing but they will not give
                                me a copy but they have given a copy to the defendant, who was licensed just as 1was
                                so we were on equal footing and should have been treated that way.

IV.        Injuries

           Ifyou sustained injuries related to the events alleged above, describe your injuries and state what medical
           treatment, ifany, you required and did or did not receive.
            I sustained no physical injuries related to the actions of the Defendants which necessitated medical attention.

V.         Relief

          State brieflywhat you wantthe court to do for you. Make no legal arguments. Do not cite any cases or statutes.
          If requesting moneydamages, include the amountsof any actual damages and/or punitive damagesclaimed for
          the acts alleged. Explain the basis for these claims.

                As a self-represented litigant, 1do not know whether many things are within the jurisdiction of the Court
                or not. Hence, 1 realize 1 may request relief that may be inappropriate despite my best efforts to research
                and seek guidance from attorneys to prevent such inappropriate requests. As a result, 1 understand that
                some requests will be denied based on the fact that the Court does not have the ability or jurisdiction to
                provide certain types of relief 1 may request.



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          With that in mind, following are the requests for relief based on the details in this complaint.


          RELIEF REQUESTED
          1. DECLARATORY JUDGMENT on the status of my licensing at the time I boarded my animals on
             April 23, 2017 as well as during the month of July 2017 when I became aware of my animals having
             been taken illegally out ofNew York State and how long the validity of my licensing remained intact
               before the Commissioner's final determination on revocation of the license on November 7,2018. The
               license in question is the License to Collect & Possess #623.
          2.   DECLARATORY JUDGMENT

          3.   Transparency.
               A. ORDER for DEC

                    (1) to provide me a copy of the "phone summary"' and "orders"- which were mentioned in the
                        November 8, 2017emaiP by Therrien to TylerThomas and to which Tyleralluded in the
                        factbook post of December 6, 2019,'' respectively. These documents should be given to me
                        since they've been given and passed around among other members of the public. In fact, 1
                        cannot be sure they didn't make it to the judge who dismissed my case in Leo v Thomas since
                         the defense attorney would likely not be above doing something such as sending him the
                         documents along with his motion for summary judgment or at another time during the case.
                    (2) There are also emails which should also be unredacted and sent to me which will be included
                         in the attachmentsto the amended complaint.^
                    (3) to cease any collaboration with Tyler Thomas or any other individual or business that has any
                        animals or other property of mine, in preventing the return of the property, especially if it is
                        under order from a court of law. They should also be made to cease involvement, including
                        advice, pertaining to legal proceedings in which they are not a party. Any other acts which
                        result in prejudice against me, legally or otherwise, should also be ceased. Inflammatory
                        remarks, including false accusations, should be immediately ceased as well as any breach of
                        confidentiality.
                    (4) I request the DEC is ordered to remove the Commissioner's final decision notice from their
                        website since I am getting threats and many angiy remarks from DEC supporters and those
                        who receive "incentives" to help the DEC with their cases, such as those being rewarded with
                        free animals taken, sometimes unlawfully, from people the DEC targets for political and/or
                        personal reasons. It is also important to note that I have directly requested the DEC, in the
                        recent past, to remove the notice due to concerns for my safety and that of my business. They
                        promptly refused and in fact, promoted the page directing them to the notice with members of
                        the public. This is quite hypocritical for an agency who passes stifling prohibitive restrictions
                        against the possession of almost every kind of exotic animal due to the agency's alleged
                        "concern" for public welfare and safety, yet they are encouraging those threatening me to act
                        on those threats. Clearly, there is very little concern for the welfare and safety of others on
                        the part of the Department..
                    (5) 1 request both agencies, the DEC and USDA, cease any and all retaliative efforts, be they via
                        the DLE officers spinning a yam at my expense passing around inflammatory remarks and
                        gossip about me and my affairs or via the legal process. I also should not experience any
                        retaliation from either agency when I ask my legislative representatives to oppose the adoption


    ' refer to phone summary exhibit
    ^ refer to "orders" exhibit
    ^ refer to attachment which contains email between Therrien and tyler
    " refer to attachment with orders facebook post
    ®make exhibit with redacted emails to be unredacted and sent to me


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                            of regulations or other matters the agencies come up with which may be the focus about which
                            I work with legislators.
                  B.    ORDER for USDA.

                        (1) The USDA wasdishonest with me in regard to one of my foia requests® for documents^ held
                            by their lES department stating that the documents I requested were destroyed as they were
                            kept for only one year, per policy. This is incorrect as lES policy is known to keep documents
                            for six years and the documents are not destroyed and need to be turned over to me.
                        (2) It is clear the USDA has used two sets of varying standards between other individuals,
                            especially staff members and other licensees and I. Violations of federal and state laws should
                            be managed consistently and fairly I ask the Court to mandate the treatment of both staff
                            members and licensees or any other individuals to be by the same standards given the severity
                            of the misconduct. Given the multitude of violations by Tyler Thomas alone, termination of
                            his federal Exhibitor's License should be considered as is the USDA mandating the return of
                            my animals and working with Thomas in returning them to me.
                        £3} Staff members like Andrea D'Ambrosio should also be held accountable for the damage she
                            has done to both my business and my personal life with false accusations and colluding with
                            the DEC in terminating licensure so I can never possess animals again. The extremism ofthis
                            conduct and end-result is especially concerning.. I should not be treated like a person
                            convicted of felony animal cruelty, especially when I've never had even so much as a civil
                            violation citing me for such. Staff members on both the state and federal levels should be
                            made accountable.

                        (41 I request amendments to my past USDA Animal Welfare inspection reports in which I believe
                            I've been cited incorrectly. For instance, 1was cited by D'Ambrosio for not arranging for a
                            person to clean the animal enclosures daily when 1was out of state for three days. Yet, when I
                            did exactly that during my surgery in April 2017, she intervened and told the colleague who
                            stole my animals that he should take as many animals as he can without the intention of ever
                            returning them. The USDA should not have an inspector telling a licensee one thing then
                            acting against her when she follows the inspector's instruction to avoid a similar citation under
                            similar circumstances in the future.

                        fS) Between the months of March 2020 and August 2020, the USDA staff altered inspection
                            reports of mine by adding the word "CRITICAL" to many of the allegations in the reports
                            which intensifies the alleged violation both with the agency and anyone who reads the report.
                            Altering the reports in this manner is a direct violation of their agency procedure/protocol.
                  C. ORDER for both agencies; that is, the DEC and the USDA
                            (1) Supervisory staff of those who have committed misconduct, both on the state and federal
                                levels, should also be held accountable for failure to address the misconduct and in fact,
                                going along with it and being apart of it instead. Supervisory staff in the DEC would
                                partially consist of James Farquhar, who is the manager of Joseph Therrien ofthe SLU
                                and Tonya Hadijis, as well as Betty Goldentyer of the Animal Care/Welfare Unit of the
                                USDA-APHIS, were also aware of D'Ambrosio's misconduct and instead of protecting the
                                licensee against the misuse of her position, the supervisors chose to condone it and, like
                                the state agency, go along with and become apart of the misconduct. If staff members
                                were held accountable, such misconduct would be much more of a rarity than it is now.
                            (2) to revoke or terminate the licensure of the colleague who boarded my animals, Tyler
                                 Thomas. He is in clear violation of federal laws such as The Animal Welfare Act, the
                                 Endaneered Species Act and the Lacev Act as well as the provisions of his licensing

      6
          foia request denied due to alleged destruction of lES records
      ^ usda documents redacted in foia
          According to Executive


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                             through the USFWS and the USDA. New York State laws which have been violated are
                             numerous ECL and 6 NYCRR provisions which forbid the acquirement of animals via
                             unlawful sources (if I was supposedly unlawfully possessing my animals prior to boarding
                             them with Thomas), possessing animals without proper licensing, not documenting export
                             of all animals, including the endangered species in his collection of animals. The DEC
                             writing "orders" for transporting and disposing of my animals occurred after Thomas
                             already had the animals imported into Texas and the animals weren't given to him as they
                             were still owned by me. The state cannot give away property belonging to someone else;
                             especially, in this case, since I was indeed licensed properly to have them for exhibition.
                             For mere possession, the animals do not need to be licensed as they can be apart of a
                             personal collection. The DEC should also be mandated to work with the Texas Parks &
                             Wildlife Department in levying charges against Thomas for the unlawful import,
                        (3) possession, exhibition, transport, etc. of animals which are supposed to be licensed under
                            Texas conservation law. Lack of documentation and import certificates are also
                            violations. There even was a likelihood Thomas trapped a wild badger and exported the
                            animal out of Texas state without proper licensure. He had a trapping license but that did
                            not authorize him to keep the animal in captivity for his own profit or for any other
                            reason. He is supposed to apply for an additional state license in order to deal in animals
                            caught from the wild in Texas.
                             His USFWS license should also be revoked since he left a red-tailed hawk in the
                             possession of his family in New York when he moved to Texas with the rest of the
                             animals. Andrea D'Ambrosio, his inspector at the time, helped him out by stating he had
                             "no animals" at his facility when she stopped by for the last inspection of his in 2017 after
                             he had moved to Texas. In fact, he had several animals still in his New York State facility
                             in Alexandria Bay. Him giving the hawk to unlicensed caregivers is a clear violation of
                             the federal Migratory Bird Treaty Act and should cause termination of the USFWS license
                             he has.

                   There are also several other licensees who have been harboring wildlife and/or exotic animals
                   illegally who should also face termination of licensure, both state and federal.

                   Staff members of both the state and federal agencies involved should be terminated
                   immediately and forbidden from working, volunteering, or associating themselves with
                   public service agencies ever again.
                    1. Lieutenant/Captain William Powell and Officer Kevin Thomas should be held accountable for
                       violating state conservation laws as well as laws concerning breach of privacy, violation of
                       constitutional rights, soliciting and using false testimony, conspiracy, and abusing the legal
                       process by using zoning and non-zoning violations in order to destroy my business when there
                       was no need to do so, especially in that matter. They should also be held accountable for
                       conspiracy, aiding and abetting and failing to investigate and giving false citations to me.
                   2. Joe Therrien. James Farquhar and Paul Stringer misrepresented my licensing in order to
                      prejudice me in the return of my animals which I own. I had licensing until November 7, 2018
                      and still possess the federal exhibitor's license so therefore I was licensed to have and exhibit
                      all animals which were yet to be returned to me by the other licensee/my colleague with whom
                      I boarded the animals. All three staff members knew this, and this is why they are acting
                      against my interests and rights secretly passing out documents they have written containing
                      derogatory, mostly likely false, information pertaining to my ownership of my animals, my
                      business and activities, possibly accusing me of animal cruelty, a completely unsubstantiated
                      accusation but one which puts most people in instant judgment against the person against
                      whom such an accusation is made. I cannot be certain if such documents made it to the judge
                      in the Leo v Thomas matter thereby causing the dismissal of the case or if a staff member
                      contacted the judge for the dismissal in order to avoid a jury trial.


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                                not authorize him to keep the animal in captivity for his own profit or for any other
                                reason. He is supposed to apply for an additional state license in order to deal in animals
                                caught from the wild in Texas.
                                His USFWS license should also be revoked since he left a red-tailed hawk in the
                                possession of his family in New York when he moved to Texas with the rest of the
                                animals. Andrea D'Ambrosio, his inspector at the time, helped him out by stating he had
                                "no animals" at his facility when she stopped by for the last inspection of his in 2017 after
                                he had moved to Texas. In fact, he had several animals still in his New York State facility
                                in Alexandria Bay. Him giving the hawk to unlicensed caregivers is a clear violation of
                                the federal Migratory Bird Treaty Act and should cause termination of the USFWS license
                                he has.

                                Just because he was encouraged to do certain things by government departments doesn't
                                mean he should be considered not to have violated the law. In fact, he is also acting under
                                the color of law by colluding with the DEC and USDA committing unlawful acts and
                                violating a plethora of laws. The the government too should be held accountable for
                                violating the laws; especially when they then hypocritically turn around and make
                                worthless allegations against me for doing so with little to no evidence to substantiate
                                such charges. The state assured my conviction and licensure revocation by prejudicing my
                                opportunity for fair hearings and decision-makers presiding over such hearings.
                                This is an extremely dangerous agency which revels in its place as a dictator of the people
                                of this state. Countless rights have been denied to the people and because they get
                                deference from the judiciary, they continue to abuse the trust of the public by the unjust
                                and exclusive management of natural resources as well as management of our personal
                                property; the latter of which should not be occurring at all. The Plaintiff in this matter
                                respectfully requests the Court to take such matters into consideration when deferring to
                                this agency if it does at all. In this matter, especially, the agency should not enjoy
                                deference at all as this is energy pushing their unlawful imposition of an agenda of special
                                interests and cruel treatment ofthe public. It is time the agency finally is held accountable
                                in order to curb their misconduct which they so egregiously perpetrate against anyone
                                exercising his or her rights.
                     There are also several other licensees who have been harboring wildlife and/or exotic animals
                     illegally who should also face termination of licensure, both state and federal.

                     Staff members of both the state and federal agencies involved should be terminated
                     immediately and forbidden from working, volunteering, or associating themselves with
                     public service agencies ever again.
                     1. Lieutenant/Captain William Powell and Officer Kevin Thomas should be held accountable for
                        violating state conservation laws as well as laws concerning breach of privacy, violation of
                        constitutional rights, soliciting and using false testimony, conspiracy, and abusing the legal
                        process by using zoning and non-zoning violations in order to destroy my business when there
                        was no need to do so, especially in that matter. They should also be held accountable for
                        conspiracy, aiding and abetting and failing to investigate and giving false citations to me.
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                        prejudice me in the return of my animals which I own. I had licensing until November 7, 2018
                        and still possess the federal exhibitor's license so therefore I was licensed to have and exhibit
                        all animals which were yet to be returned to me by the other licensee/my colleague with whom
                        I boarded the animals. All three staff members knew this, and this is why they are acting
                        against my interests and rights secretly passing out documents they have written containing
                        derogatory, mostly likely false, information pertaining to my ownership of my animals, my
                        business and activities, possibly accusing me of animal cruelty, a completely unsubstantiated
                        accusation but one which puts most people in instant judgment against the person against


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                                whom such an accusation is made. 1cannot be ceitain if such documents made it to the judge
                                in the Leo v Thomas matter thereby causing the dismissal of the case or if a staff member
                                contacted the judge for the dismissal in order to avoid a jury trial.
                           3.   Andrea D'Ambrosio should be held accountable with unlawful interference with a
                                contract/business relationship and/or opportunity, conspiracy, aiding and abetting, defamation,
                                false accusations, violations ofthe Animal Welfare Act and failure to conduct good-faith
                                investigations concerning the case of stolen animals.'
                           4. DEC - failure to enforce laws, rules, and regulations, failure to acknowledge redress I
                              attempted and providing or blocking any recourse I could have for relief against unfair
                              treatment by the agency.
                           5. USDA - same as for the DEC described in previous paragraph.


VI.    Certification and Closing

       Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my knowledge, information,
       and belief that this complaint; (1) is not being presented for an improper purpose, such as to harass, cause
       unnecessary delay, or needlessly increase the cost of litigation;(2) is supported by existing law or by a
       nonfrivolous argumentfor c.xtcnding, modifying, or reversing existing law;(3) the factual contentions have
       evidentiary su|q>oit or, if specifically so identified, will likely have evidentiaiy support after a reasonable
       opportunity for further investigation or discovery; and (4) the complaint otherwise complies with the
       requirements of Rule 11.
      A.          For Parties Without an Attorney

                  I agree to providethe Clerk's Office with any changesto my address wherecase-related papers may be
                  served. I understand that my failure to keep a current address on file with the Clerk's Office may result
                  in (he dismissal of my case.

                  Date of signing:                 August 23, 2020


                  Signature of Plaintiff
                  Printed Name of Plain!Ul             Carrie M. Leo




                Swom to efore me this 23"*                 November 2020




                                                                                           Ti n rti                  .m./wyf
                                          Public                                                          LAUREN FRIEDL
                                                                                                Notary Public •StaleofNew YorR
                                                                                                         NO. 07FR6383305
                                                                                                      Qualified InWayne County
                                                                                              My Commission Expires Nov 13. 202*



           ^ Even after 1requested the Animal Care Division staff to not allow D'Ambrosio close to any information concerning me and my
           business since she was no longer associated with me as an animal care inspector, the management still put her and her supervisor,
           Tonya Hadijis, as main contacts for "investigating" the animal care complaints 1submitted. Of course, the information 1sent in or
           noted was not even accessed, much less considered as part of the investigation by D'Ambrosio. It makes no sense to put a person
           who is implicated in a complaint as "investigator" of the complaint. Clearly, theywill cover up their involvement and that is exactly
           what she did.



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                                 Case 6:20-cv-07039-FPG Document 1 Filed 12/04/20 Page 15 of 15
JS 44 (Rev 10/20)                                                              CIVIL COVER SHEET
The JS 44 civil cover sheet and the information containedhereinneither replacenor supplementthe filing and serviceof pleadingsor other papersas requiredby law, exceptas
provided by local rules of court. This form, approved by the Judicial Conferenceof the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet.         (SEE INSTRUCTIONS ONNEXT PAGE OF THIS FORM.)
I. (a) PLAINTIFFS                                                                                                  DEFENDANTS
                                                                                                                   NYSDEC, USDA, Seggos, Powell, Therrien, Perdue,
          Carrie M. Leo
                                                                                                                   D'Ambrosio & John/Jane Does #1-15
   (b) County ofResidence ofFirst Listed Plaintiff Wayne                                                           Countv of Residence ofFirst Listed Defendant Albany
                                 (EXCEPT IN as. PUINT/EE CASES)                                                                           (IN U.S. PIAINTIFF CASES ONLY)
                                                                                                                   NOTE:      IN LAND CONDEMNATION CASES. USE THE LOCATION OF
                                                                                                                              THE TRACT OF LAND INVOLVED.

   (c) Attorneys (Firm Name, Addre.is. andTelephone Number)                                                        Attorneys (If Known)
          self-represented litigant, request for appointment of                                                    NYS GAG for NYSDEC, Seggos, Powell and Therrien,
          attorney accompanies this sheet and submitted to the                                                     U.S. Attorney - USDA, Perdue and D'Ambrosio
          Court                                                                                         B
II. BASIS OF JURISDICTION (Place an "X"inOneBox Only)                                                III. CITIZENSHIP OF PRINCIPAL PARTIES (P/ace aw "X"inOne Boxfor Plaintiff
                                                                                                               (For Diversity Ca.se.s Only)                                    and OneBoxfor Defendant)
1 11 U.S. Government                 Q3 Federal Question                                                                                  PTF        DEF                                               PTF    DEF
          Plaintiff                              (U.S. Government Not a Party)                          Citizen ofThis State              • 1 !• 1 Incorporated orPrincipal Place                      [• ^ 1 |4
                                                                                                                                                                of Business In This State

0 2 U.S. Government                  (• 4 Diversity                                                     Citizen ofAnother State           •2        [• ^ Incorporated and Principal Place              !• 5 | |5
          Defendant                              (Indicate Citizen.shipofPartie.s in Item III)                                                                  of Business In Another State

                                                                                                        Citizen orSubject ofa             • 3       [• ^ Foreign Nation                                !• ^ 1 |6
                                                                                                            Foreign Country
1V» NATURE OF SUIT (Placean "X" inOne Box Only)                                                                                               Click here for: Nature of Suit Code Descriptions,
           CONTRACT                                                    TORTS                                FORFEITURE/PENALTY                        BANKRUPTCY                        OTHER STATUTES

   110 Insurance                       PERSONAL INJURY                       PERSONAL INJURY            ^ 625 Drug Related Seizure                 422 Appeal 28 USC 158         • 375 False Claims Act
   120 Marine
   130 Miller Act
                                    3310  Airplane
                                      315 Airplane Product
                                                                         I I365 Personal Injury -
                                                                                 Product Liability
                                                                                                                 of Property 21 USC 881
                                                                                                        • 690 Other
                                                                                                                                               0   423 Withdrawal
                                                                                                                                                       28 USC 157
                                                                                                                                                                                 •    376QuiTam(31USC
                                                                                                                                                                                            3729(a))
   140 Negotiable Instrument                 Liability                   • 367 Health Care/                                                                                           400 State Reapportionment
   150 Recoveiy of Overpayment      ^ 320 Assault, Libel &                      Pharmaceutical                                                     PRQPERTYRIGHTS                     410 Antitrust
       & Enforcement ofJudgment              Slander                            Personal Injury                                                    820 Copyrights                     430 Banks and Banking
0151  Medicare Act
  152 Recoveiy of Defaulted
                                    ^ 330 Federal Employers'
                                             Liability
                                                                                Product Liability
                                                                         I I368Asbestos Personal
                                                                                                                                                   830 Patent
                                                                                                                                                   835 Patent - Abbreviated
                                                                                                                                                                                      450 Commerce
                                                                                                                                                                                      460 Deportation
        Student Loans                  340 Marine                                Injury Product                                                        New Dmg Application            470 Racketeer Influenced and
        (Excludes Veterans)           I345 Marine Product                        Liability                                                         840 Trademark                            Corrupt Organizations
I 1153 Recovery ofOverpayment                Liability                    PERSONAL property                            LABOR                       880 Defend Trade Secrets          I 480Consumer Credit
        of Veteran's Benefits         I350 Motor Vehicle                    370 Other Fraud             • 710 Fair Labor Standards                     Act of 2016                          (15 USC 1681 or 1692)
   160 Stockholders' Suits            I355 Motor Vehicle                    371 Truth in Lending                 Act                                                                 I 485Telephone Consumer
   190 Other Contract                        Product Liability              380 Other Personal          • 720 Labor/Management                      SOCIAL SECURITY                         Protection Act
   195 Contract Product Liability     I360OtherPersonal                         Property Damage                  Relations                         861 HlA(1395ff)               • 490 Cable/Sat TV
   196 Franchise                           Injuiy                        I I385 Property Damage         • 740 Railway Labor Act                    862 Black Lung (923)              I 850 Securities/Commodities/
                                       362 Personal Injury -                    Product Liability       • 751 Family and Medical                   863 DIWC/DIWW (405(g))                 Exchange
                                           Medical Malpractice                                                   Leave Act                         864 SSID Title XVI                 890 Other Statutory Actions
        reai^prqperty                    CIVIL RIGHTS                     PRISONER PETITIONS                1790 Other Labor Litigation            865 RSI (405(g))                   891 Agricultural Acts
   210 Land Condemnation               440 Other Civil Rights               Habeas Corpus:              • 791 Employee Retirement                                                     893 Environmental Matters
   220 Foreclosure                     441 Voting                          I463AlienDetainee                     Income Security Act               FEDERALmXSUlTS                     895 Freedom of Information
   230 Rent Lease & Ejectment          442 Employment                    • 510 Motions toVacate                                                    870 Taxes (U.S. Plaintiff                Act
   240 Torts to Land                   443 Housing/                             Sentence                                                               or Defendant)             • 896 Arbitration
   245 Tort Product Liability                Accommodations              • 530 General                                                             871 IRS—^ThirdParty           • 899 Administrative Procedure
   290 All Other Real Property        I 445 Amer.w/Disabilities • • 535 Death Penalty                           IMMIGRATioFT                            26 USC 7609                         Act/Review or Appeal of
                                             Employment                     Other:                          462 Naturalization Application                                                  Agency Decision
                                    • 446 Amer. w/Disabilities •
                                             Other
                                                                            540 Mandamus & Other
                                                                            550 Civil Rights
                                                                                                        3   465 Other Immigration
                                                                                                                 Actions
                                                                                                                                                                                     I 950Constitutionality of
                                                                                                                                                                                            State Statutes
                                    • 448 Education                         555 Prison Condition
                                                                            560 Civil Detainee -
                                                                                Conditions of
                                                                                Confinement

V. ORIGIN (Place an "X"inOneBox Only)
   1 Original            q2 Removed from                    •            Remanded from              q4 Reinstated or •          5 Transferred from
                                                                                                                                                           •     '
                                                                                                                                                                     Multidistrict           q8 Multidistrict
        Proceeding               State Court                             Appellate Court               Reopened                   Another District                   Litigation -                   Litigation -
                                                                                                                    (specify)                        Transfer                                       Direct File
                                         Cite the U.S. Civil Statute under which you are filing (Donot citejurisdicthnalstatutes unless diversity) :
                                         42 U.S.C.§1983
VI. CAUSE OF ACTION
                                         Brief description of cause:
                                         civil rights violations, including Bivens
VII. REQUESTED IN                        •       CHECK IFTHIS ISACLASS ACTION                                DEMAND $                                    CHECK YES only ifdemanded incomplaint:
        COMPLAINT:                               UNDER RULE 23, F.R.Cv.P.                                                                                JURY DEMAND:                   SVes           QNo
VIII. RELATED CASE(S)
                                               (See in.struction.s):
         IF ANY                                                           JUDGE                                                                    DOCKET NUMBER

 DATE

 Nov22. 2020
 FOR OFFICE USE ONLY

   RECEIPT #                     AMOUNT                                         APPLYING IFP                                    JUDGE                                 MAG. JUDGE
